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UNITED STATES DISTRICT COURT
WESTERN DISTRICT oF TENNESSEE -i-;;; ppg m ss ,¢,. ,\.,p
Western Division " 1

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UNITED STATES OF AMERICA

-v- Case No. 2:04cr20223-3-B

DARRYL DEMPSEY

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions'.

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court:, Pretrial Services Office, Probation Office1 defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed. The defendant shall next appear as directed by the Court.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions

0 Other: Defendant shall abide by all conditions of pretrial release previously imposed..

ADVICE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a feiony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This Sentence shall be in addition to any other sentence

 
    

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Federai law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering1 retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted

ACKNOWLEDGMENT OF DEFENDANT

l aclmowledge thatI am the defendant in this case and that I am aware of the conditions of release l promise
to obey all conditions of reiease, to appear as directed, and to surrender for service of any sentence imposed lam aware
of the penalties and sanctions set forth above.

_'_,fr>`/.A,`Q “d,,_,__.__-l-.» -; ._..___\
Signature of Defendant \

DARRYL DEMPSEY

DlRECTIONS TO THE UN|TED STATES MARSHAL

Q/The defendant is ORDERED released after processing

|:| The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond andfor complied with all other conditions for reiease. The
defendant shall be produced before the appropriate judicial officer at the time and place specified if still in

 

custody
_r__________.._
Dare; Aprii 15, 2005 L\_,/l/‘\ _t
`TU M. PHAM

UNITED STATES MAGISTRATE IUDGE

AO 199A Order Setttng Conditions of Re|ease -2-

   

UNITED `SATES DISTRIC COUR - WETERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 104 in
case 2:04-CR-20223 was distributed by faX, mail, or direct printing on
April 18, 2005 to the parties listed

 

 

Cam Towers .l ones

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Honorable J. Breen
US DISTRICT COURT

